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                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                               PECOS DIVISION


 UNITED STATES OF AMERICA

       Plaintiff

              v.                                          Case Number 4:22-CR-00104
 JOSE GOMEZ QUIROZ,

       Defendant



                                        ORDER

      Considering the Government=s Motion for Detention Pending Appeal or to Stay Dismissal

Pending Appeal, it is hereby GRANTED.

      SIGNED on the _____ day of _________________________, 2022.



                                                _____________________________
                                                HONORABLE DAVID COUNTS
                                                UNITED STATES DISTRICT JUDGE
